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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                        -   -   -   -   X


UNITED STATES OF AMERICA
                                                            SEALED SUPERSEDING
           -   V.   -                                       INFORMATION

KONSTANTIN IGNATOV,                                         S9 17 Cr. 630 (ER)

                           Defendant.


                                  ------x

                                    COUNT ONE
                        {Conspiracy to Commit Wire Fraud)

     The United States Attorney charges:

     1.        From in or about 2016 up to and including in or about

March 2019, in the Southern District of New York and elsewhere,

KONSTANTIN IGNATOV, the defendant, and others known and unknown,

willfully and knowingly did combine, conspire, confederate, and

agree together and with each other to violate Title 18, United

States Code, Section 1343.

     2.        It was a part and an object of the conspiracy that

KONSTANTIN IGNATOV, the defendant, and others known and unknown,

willfully and knowingly, having devised and intending to devise

a scheme and artifice to defraud and for obtaining money and

property by means of false and fraudulent pretenses,

representations, and promises, would and did transmit and cause

to be transmitted by means of wire, radio, and television

communication in interstate and foreign commerce, writings,
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signs, signals, pictures, and sounds for the purpose of

executing such scheme and artifice, to wit, IGNATOV and others

made and caused to be made false statements and

misrepresentations soliciting individuals throughout the world,

including in the Southern District of New York, to invest in

"OneCoin," a purported cryptocurrency, and instructed

individuals to transmit investment funds to OneCoin depository

accounts in order to purchase OneCoin packages, thereby causing

individuals to send interstate and international wires

representing their OneCoin investments.

             (Title 18, United States Code, Section 1349.)

                                  COUNT TWO
                                 (Wire Fraud)

     The Grand Jury further charges:

     3.      From in or about 2016 up to and including in or about

March 2019, in the Southern District of New York and elsewhere,

KONSTANTIN IGNATOV, the defendant, willfully and knowingly,

having devised and intending to devise a scheme and artifice to

defraud, and for obtaining money and property by means of false

and fraudulent pretenses, representations and promises, for the

purpose of executing such scheme and artifice, transmitted and

caused to be transmitted by means of wire communication in

interstate and foreign commerce writings, signs, signals,

pictures, and sounds, to wit, IGNATOV, and others working on his

behalf, made and caused to be made false statements and


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misrepresentations soliciting individuals throughout the world,

including in the Southern District of New York, to invest in

"OneCoin," a purported cryptocurrency, and instructed

individuals to transmit investment funds to OneCoin depository

accounts, and thereby caused individuals to send international

wires representing their OneCoin investments.

           (Title 18, United States Code, Sections 1343 and 2.)

                               COUNT THREE
                 {Conspiracy to Commit Money Laundering)

     The United States Attorney further charges:

     4.       From in or about 2016 up to and including in or about

March 2019, in the Southern District of New York and elsewhere,

KONSTANTIN IGNATOV, the defendant, and others known and unknown,

intentionally and knowingly combined, conspired, confederated,

and agreed together and with each other to commit money

laundering, in violation of Title 18, United States Code,

Sections 1956 (a) (1) (B) (i), 1956 (a) (2) (B) (i), and 1956 (a) (2) (A).

      5.      It was a part and an object of the conspiracy that

KONSTANTIN IGNATOV, the defendant, and others known and unknown,

knowing that the property involved in certain financial

transactions represented the proceeds of some form of unlawful

activity, would and did conduct and attempt to conduct such

financial transactions which in fact involved the proceeds of

specified unlawful activity, to wit, the proceeds of the wire-

fraud conspiracy alleged in Count One of this Superseding


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Information, knowing that the transactions were designed in

whole and in part to conceal and disguise the nature, location,

source, ownership, and control of the proceeds of specified

unlawful activity, in violation of Title 18, United States Code,

Section 1956 (a) (1) (B) (i).

      6.     It was further a part and an object of the conspiracy

that KONSTANTIN IGNATOV, the defendant, and others known and

unknown, would and did transport, transmit, and transfer, and

attempt to transport, transmit, and transfer a monetary

instrument and funds from a place in the United States to and

through a place outside the United States, and to a place in the

United States from and through a place outside the United

States, knowing that the monetary instrument and funds involved

in the transportation, transmission, and transfer represented

the proceeds of some form of unlawful activity and knowing that

such transportation, transmission, and transfer was designed in

whole and in part to conceal and disguise the nature, location,

source, ownership, and control of the proceeds of specified

unlawful activity, to wit, the proceeds of the wire-fraud

conspiracy alleged in Count One of this Superseding Information,

in violation of Title 18, United States Code, Section

1956(a) (2) (B) (i).

      7.      It was further a part and an object of the conspiracy

that KONSTANTIN IGNATOV, the defendant, and others known and



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unknown, would and did transport, transmit, and transfer, and

attempt to transport, transmit, and transfer, a monetary

instrument and funds from a place in the United States to and

through a place outside the United States, and to a place in the

United States from and through a place outside the United

States, with the intent to promote the carrying on of specified

unlawful activity, to wit, the wire-fraud conspiracy alleged in

Count One of this Superseding Information, in violation of Title

18, United States Code, Section 1956 (a) ( 2) (A) .

            (Title 18, United States Code, Section 1956(h) .)

                                 COUNT FOUR
                     {Conspiracy to Commit Bank Fraud)

     The Grand Jury further charges:

     8.      From in or about 2016 up to and including in or about

March 2019, in the Southern District of New York and elsewhere,

KONSTANTIN IGNATOV, the defendant, and others known and unknown,

willfully and knowingly did combine, conspire, confederate, and

agree together and with each other to commit bank fraud,             in

violation of Title 18, United States Code, Section 1344.

     9.      It was a part and object of the conspiracy that

KONSTANTIN IGNATOV, the defendant, and others known and unknown,

willfully and knowingly, would and did execute and attempt to

execute a scheme and artifice to defraud a financial

institution, the deposits of which were then insured by the

Federal Deposit Insurance Corporation ("FDIC"), and to obtain


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moneys, funds, credits, assets, securities, and other property

owned by, and under the custody and control of, such financial

institution, by means of false and fraudulent pretenses,

representations, and promises, to wit, IGNATOV and others

misrepresented and omitted material facts to banks and other

financial institutions worldwide to cause those financial

institutions, including FDIC-insured financial institutions in

the United States, to transfer proceeds of a pyramid scheme

involving a purported cryptocurrency known as "OneCoin," into

and out of accounts controlled by IGNATOV and others, in

violation of Title 18, United States Code, Section 1344.

                   (Title 18, United States Code, Section 1349.)

                               FORFEITURE ALLEGATION

        10.       As a result of committing the offenses alleged in

Count One, Two, and Four of this Superseding Information,

KONSTANTIN IGNATOV, the defendant, shall forfeit to the United

States pursuant to Title 18, United States Code, Sections

981   (a)   (l)   (C) and 982 (a) (2) (A), and Title 28, United States Code,

Section 2461(c), any and all property, real and personal, that

constitutes or is derived from proceeds traceable to the

commission of said offenses including but not limited to a sum

of money in United States currency representing the amount of

proceeds traceable to the commission of said offenses.




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     11.     As a result of committing the money laundering offense

alleged in Count Three of this Superseding Information,

KONSTANTIN IGNATOV, the defendant, shall forfeit to the United

States, pursuant to Title 18, United States Code, Section

982(a) (1), any and all property, real and personal, involved in

said offense, or any property traceable to such property,

including but not limited to a sum of money in United States

currency representing the amount of property involved in said

offense.

                       Substitute Asset Provision

     12.     If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

             a.   cannot be located upon the exercise of due

diligence;

             b.   has been transferred or sold to, or deposited

with, a third party;

             c.   has been placed beyond the jurisdiction of the

court;

             d.   has been substantially diminished in value; or

             e.   has been commingled with other property which

cannot be subdivided without difficulty;




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it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), and Title 28, United States

Code, Section 246l(c), to seek forfeiture of any other property

of the defendant up to the value of the above forfeitable

property.

              (Title 18, United States Code, Section 981;
            Title 21, United States Code, Sections 853; and
             Title 28, United States Code, Section 2461.)




                                        GEOFFREY S. BERMAN~
                                        United States Attorney
                                        Southern District of New York




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             UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK


               UNITED STATES OF AMERICA

                            - v.   -

                  KONSTANTIN IGNATOV,

                                       Defendant.



           SEALED SUPERSEDING INFORMATION

                    S9 17 Cr. 630 (ER)

       (18 U.S.C.    §§   1343, 1349, and 1956(h))




                                 GEOFFREY S. BERMAN
                            United States Attorney.
